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         EXHIBIT B
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 24-CV-20684-MOORE/Elfenbein

        NOACH NEWMAN, et al.,

              Plaintiffs,

        v.

    THE ASSOCIATED PRESS,

              Defendant.
        ________________________/

             ORDER ON PLAINTIFFS’ ORAL MOTION TO COMPEL, ECF NO. [57]

             THIS CAUSE is before the Court on Plaintiffs’ (“Plaintiffs”) Notice of Hearing, ECF

    No. [54], in which Plaintiffs alerted the Court to the following items (“Item” or “Items”) to be

    discussed at the Discovery Hearing held on July 17, 2024 (the “Hearing”):

             1. The deadline for the completion of Defendant The Associated Press’ (“AP”)
             production of documents responsive to Plaintiff Noach Newman’s (“Plaintiff”)
             First Request for Production and for service of a privilege log;

             2. AP’s overbreadth, burdensomeness, and proportionality objections with regard
             to producing documents and communications created after February 21, 2024 in
             response to request numbers 1 through 18, 27 through 30, and 35[;]

             3. The deadline for service of AP’s Second Amended Responses to Plaintiff’s First
             Request for Production;

             4. AP’s specification of the type of privilege asserted in response to request
             numbers 1 through [8], [15] through[ 25, 27 through] 30, and 37 and whether AP
             is withholding documents based on the privilege;[1]
    1
      In Item 4 of the Notice of Hearing, Plaintiffs state that an issue exists with respect to “AP’s specification
    of the type of privilege asserted in response to request numbers 1 through 12, 14 through 30, and 37 and
    whether AP is withholding documents based on the Privilege[.]” ECF No. [54]. However, counsel for
    Plaintiffs sent an email to chambers — which copied counsel for Defendant, informing the Court that “[i]n
    its Second Amended Responses and Objections, AP has specified the type of privilege asserted to requests
    number 9 through 12, 14, and 26[,]” but that “[t]he remainder of the issues listed in item 4 are in still in
    dispute.” The privilege specification issue, therefore, became moot prior to the Hearing.
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            5. AP’s formulaic objections followed by an answer in response to request numbers
            1 through 12, 14 through 18, 23 through 25, 27 through 30, and 35 through 36 and
            whether AP must identify what categories of documents it is withholding based on
            objections in response to the requests[;]

            6. Selection of custodians for AP’s document search;

            7. Request No. 1 – The scope of the subject of the photographs responsive to the
            request;

            . . . [2]

            9. Request No. 3 – AP’s overbreadth, burdensomeness, and proportionality
            objections asserted without any explanation to support these objections and the
            timeframe for this request;

            10. Request No. 13 – The scope of topics and people/entities which would be
            responsive to the request and AP’s overbreadth, burdensomeness, and
            proportionality objections;

            11. Request Nos. 24 through 25 – AP’s overbreadth, burdensomeness, and
            proportionality objections asserted without any explanation to support these
            objections and the narrowed scope of the types of documents and communications
            responsive to these requests;

            12. Request No. 26 – The scope of topics and people/entities which would be
            responsive to the request;

            13. Request No. 35 – AP’s overbreadth, burdensomeness, and proportionality
            objections that the documents are equally available to Plaintiff from AP’s online
            database, the objections asserted without any explanation to support these
            objections, and the relevance of the request;

            14. Request No. 36 – AP’s overbreadth, burdensomeness, and proportionality
            objections that the documents are equally available to Plaintiff from AP’s online
            database, the objections asserted without any explanation to support these
            objections, and the scope of the types of documents and communications
            responsive to the request;




    2
      In Item 8 of the Notice of Hearing, Plaintiffs state that an issue exists with respect to “[t]he scope of the
    types of documents and communications responsive to Plaintiff’s request[s for production 2 and 15 through
    18][.]” However, counsel for Plaintiffs sent an email to chambers — which copied counsel for Defendant,
    informing the Court that “[t]he [P]arties agreed on the scope of these requests (requests number 2, and 15
    through 18).” This issue, therefore, became moot prior to the Hearing.

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            15. Request Nos. 38 through 41 – The narrowed scope of the requests, AP’s
            relevancy, overbreadth, burdensomeness, and proportionality objections, and the
            relevancy of the requests;

            16. Whether AP must state in its Second Amended Responses whether no
            responsive documents or communications exist in response to specific requests;

            17. The scope of a confidentiality order to be entered in the case. . . .[3]

    ECF No. [54] at 1-2. 4

            At the Hearing, the Court ruled on all issues raised in the Notice of Hearing, ECF No [54].

    To memorialize those rulings and to provide further clarification, it is ORDERED and

    ADJUDGED as follows:

                  1. With respect to Item 1 of the Notice of Hearing, the Court will hold this matter in

                      ABEYANCE. Defendant, the Associated Press (“Defendant”), explained at the

                      Hearing that it cannot produce all responsive documents by August 31, 2024, as

                      Plaintiffs request, because virtually all of it is either in war-torn Gaza or the

                      besieged parts of Israel. Defendant instead asked the Court to allow it until

                      October 15, 2024 to produce the responsive information. Rather than impose a

                      deadline by which Defendant must produce all responsive documents, the

                      Defendant SHALL produce responsive documents on a rolling basis as the

                      documents are received by defense counsel and the Parties SHALL appear before




    3
      Defendant also filed a Notice of Hearing on this issue. See ECF No. [55] at 1. Specifically, Defendant
    stated in its Notice that “[t]he matter to be addressed is whether the Court should enter an umbrella
    protective order to allow for the designation of certain materials exchanged in discovery as confidential.”
    Id. Due to the significant overlap between Item 17 of Plaintiffs’ Notice of Hearing and the issue raised in
    Defendant’s Notice of Hearing, the Court will consolidate and rule on them together.
    4
      In Item 18 of the Notice of Hearing, Plaintiffs seek “[p]roduction of document bates-stamped
    AP_0000038-39 in readable form.” However, counsel for Plaintiffs sent an email to chambers — which
    copied counsel for Defendant, informing the Court that the Parties resolved “Item 18 in the Notice of
    Hearing[.]” This issue, therefore, became moot prior to the Hearing.

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                 the undersigned Magistrate Judge for discovery status conferences via Zoom

                 approximately every two weeks to monitor the status of Defendant’s document

                 productions. The discovery status conferences will continue until the Court

                 decides otherwise.    The Court shall enter a separate order for each status

                 conference it will hold. Furthermore, on or before August 2, 2024, counsel for

                 Defendant SHALL provide Plaintiffs a privilege log that complies with this

                 District’s Local Rules, identifying all discovery Defendant is currently

                 withholding based on privilege. Lastly, as Defendant makes rolling discovery

                 disclosures, Defendant SHALL contemporaneously provide Plaintiffs a privilege

                 log of all documents withheld on the basis of privilege in that production, should

                 one be necessary.

              2. With respect to Item 2 of the Notice of Hearing, rather than enter a blanket ruling

                 on Defendant’s overbreadth objections to Requests for Production 1 through 18,

                 27 through 30, and 35, the Court individually ruled on Defendant’s objections to

                 these Requests as explained below.

              3. Defendant’s service of its Second Amended Responses to Plaintiffs’ First

                 Request for Production MOOTED Item 3 of the Notice of Hearing.

              4. To the extent Plaintiffs seek “specification [as to] the type of privilege

                 [Defendant] assert[s] in response to request numbers 1 through 12, 14 through 30,

                 and 37 and whether [Defendant] is withholding documents based on the

                 privilege[,]” ECF No. [54] at 2, this issue will be resolved by Defendant’s

                 privilege log, which is due on or before August 2, 2024. To the extent Plaintiffs

                 are concerned regarding privilege logs for future discovery productions,



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                         Defendant is required to provide Plaintiffs a contemporaneously filed privilege

                         log with each rolling production, should one be necessary.

                     5. With respect to Item 5 of the Notice, rather than enter a blanket ruling on

                         Defendant’s “objections . . . in response to request numbers 1 through 12, 14

                         through 18, 23 through 25, 27 through 30, and 35 through 36[,]” id., the Court

                         ruled on Defendant’s objections to these Requests individually as explained

                         below.

                     6. With respect to Item 6 of the Notice of Hearing, on or before August 2, 2024,

                         Defendant SHALL provide Plaintiffs with a list of custodians which it searched

                         in pursuit of the discovery materials sought by Plaintiffs. Should Plaintiffs

                         request that Defendant search other custodians not on the list provided, Defendant

                         may seek an explanation for that request.

                     7. With respect to Request for Production 1, the Parties agreed at the Hearing on the

                         “scope of the subject of the photographs responsive to the request[,]” id.; thus,

                         this issue is MOOT.           However, concerning Defendant’s temporal scope

                         objections to Request for Production 1, for the reasons explained at the hearing,

                         those objections are OVERRULED.                 Accordingly, the Court expands the

                         temporal scope of this Request to May 6, 2024. 5

                     8. With respect to Defendant’s temporal scope objections to Request for Production

                         2, for the reasons explained at the hearing, those objections are OVERRULED.




    5
        This ruling relates to Items 2 and 7 of the Notice of Hearing.


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                         Accordingly, the Court expands the temporal scope of this Request to May 6,

                         2024. 6

                     9. Defendant’s overbreadth, burdensomeness, and proportionality objections to

                         Request for Production 3 are SUSTAINED IN PART. Defendant shall produce

                         “[a]ll documents and communications” between Defendant and the freelance

                         journalists, as that phrase was defined at the Hearing, “that mention, discuss, or

                         describe any Hamas plan to launch an attack on Israel.” ECF No. [54-2] at 14.

                         Furthermore, Defendant is only required to provide documents and

                         communications subject to this request that postdate January 1, 2019. 7

                     10. With respect to Defendant’s temporal scope objections to Requests for

                         Production 4 and 5, those objections are SUSTAINED. Accordingly, the Court

                         limits the temporal scope of these Requests to February 21, 2024. 8

                     11. With respect to Defendant’s temporal scope objections to Requests for

                         Production 6 and 7, for the reasons stated at the Hearing, those objections are

                         OVERRULED. Accordingly, the Court expands the temporal scope of this

                         Request to May 6, 2024. 9

                     12. At the Hearing, counsel for Plaintiffs indicated that she intended to present an

                         argument on Defendant’s temporal scope objection to Request for Production 8




    6
        This ruling relates to Item 2 of the Notice of Hearing.
    7
        This ruling relates to Items 2 and 9 of the Notice of Hearing.
    8
        These rulings relate to Item 2 of the Notice of Hearing.
    9
        These rulings relate to Item 2 of the Notice of Hearing.


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                         but failed to do so when the opportunity presented itself. Therefore, the Court

                         makes no ruling on the temporal scope of this request. 10

                     13. With respect to Defendant’s temporal scope objections to Requests for

                         Production 9 and 10, those objections are SUSTAINED. Accordingly, the Court

                         limits temporal scope of these Requests to February 21, 2024. 11

                     14. With respect to Defendant’s temporal scope objections to Requests for

                         Production 11 and 12, those objections are OVERRULED. Accordingly, the

                         Court expands the temporal scope of these Requests to May 6, 2024. 12

                     15. Defendant’s overbreadth, burdensomeness, and proportionality objections to

                         Request for Production 13 are SUSTAINED in part and OVERRULED in

                         part. The scope of topics that would be responsive to the request SHALL be

                         limited to (1) propaganda, (2) hostages, (3) contracts and arrangements between

                         Defendant and Hamas, (4) sharing of facilities and expenses between Defendant

                         and Hamas, (5) the freelance journalists as that phrase was defined at the Hearing,

                         (6) advance notices of disturbances of Gaza’s shoreline and the Israeli-Gazan

                         fence, and (7) any advance notice of training relating to the October 7, 2023

                         attack. ECF No. [54] at ¶ 10. Additionally, Defendant shall use the following

                         definition of “Hamas officials:” Hamas leaders and ministers of the Hamas

                         government; and the following definition of Hamas “affiliates:” leaders of Joint

                         Room for Palestinian Resistance Factions; al-Qassam Brigades; Palestinian


    10
         This finding relates to Item 2 of the Notice of Hearing.
    11
         These rulings relate to Item 2 of the Notice of Hearing.
    12
         These rulings relate to Item 2 of the Notice of Hearing.


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                         Islamic Jihad (PIJ); Popular Front for the Liberation of Palestine (PFLP);

                         National Resistance Brigades: Democratic Front for the Liberation of Palestine;

                         Al-Nasser Salah al-Deen Brigades: Popular Resistance Committees (PRC);

                         Mujahideen Brigades (Palestinian Mujahideen Movement); al-Aqsa Martyrs'

                         Brigades; Jihad Jibril Brigades (Popular Front for the Liberation of Palestine –

                         General Command) (PFLP-GC); Al-Ansar Brigades (Palestinian Freedom

                         Movement); Ayman Jawda Squads; Abd al-Qadr al-Husseini Brigades; and Al-

                         Assefa Army. 13

                     16. With respect to Defendant’s temporal scope objections to Request for Production

                         14, those objections are SUSTAINED.               Accordingly, the Court limits the

                         temporal scope of this Request to February 21, 2024. 14

                     17. With respect to Defendant’s temporal scope objection to Requests for Production

                         15 through 18, those objections are OVERRULED. The Court expands the

                         temporal scope of these Requests to May 6, 2024. 15

                     18. Defendant’s overbreadth, burdensomeness, and proportionality objections to

                         Requests for Production 24 and 25 are OVERRULED. Defendant, in response

                         to these requests, SHALL produce all policies, procedures, guidelines, or

                         directives relating to Hamas in place at Defendant’s bureaus in Israel, Gaza, the




    13
         This ruling relates to Items 2 and 10 of the Notice of Hearing.
    14
         This ruling relates to Item 2 of the Notice of Hearing.
    15
         These rulings relate to Item 2 of the Notice of Hearing.


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                         West Bank, South Africa, Lebanon, Qatar, Turkey, Iran, and Egypt that are

                         responsive to these Requests. 16

                     19. With respect to Item 12 of the Notice of Hearing, the Defendant had already

                         agreed to produce responsive documents, subject only to the reporter’s privilege

                         to the extent it applies. As a result, there was no dispute regarding Request for

                         Production 26 at the Hearing; therefore, this issue was MOOT.

                     20. With respect to Defendant’s temporal scope objections to Requests for

                         Production 27 through 30, those objections are SUSTAINED. Accordingly, the

                         Court limits the temporal scope of these Requests to February 21, 2024. 17

                     21. Defendant’s overbreadth, burdensomeness, and proportionality objections to

                         Requests for Production 35 and 36 are SUSTAINED. Defendant is not required

                         to produce responsive photographs and videos available on the Defendant’s

                         server to which Plaintiffs have been given access. However, to the extent

                         Defendant possesses photographs and videos not on the server and within the

                         scope of these Requests, Defendant SHALL turn over those photographs and

                         videos; and should Defendant come to possess photographs and videos within the

                         scope of these Requests, Defendant SHALL turn over those photographs and

                         videos as soon as practicable. 18

                     22. Defendant’s relevancy, overbreadth, burdensomeness, and proportionality

                         objections to Request for Production 38 are OVERRULED in part. Defendant


    16
         These rulings relate to Item 11 of the Notice of Hearing.
    17
         These rulings relate to Item 2 of the Notice of Hearing.
    18
         These rulings relate to Items 13 and 14 of the Notice of Hearing


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                         SHALL produce the lease it had during its tenancy in al-Jalaa Tower. Defendant

                         SHALL also produce any communication it had with Hamas regarding its

                         tenancy in al-Jalaa Tower from January 1, 2019 until the Tower’s destruction in

                         May 2021. 19

                     23. Defendant’s relevancy, overbreadth, burdensomeness, and proportionality

                         objections to Request for Production 39 are OVERRULED in part. Defendant

                         SHALL produce documents in its possession from January 1, 2019 until al-Jalaa

                         Tower’s destruction in May 2021, discussing Hamas’ tenancy or operations out

                         of al-Jalaa Tower. 20

                     24. Defendant’s relevancy, overbreadth, burdensomeness, and proportionality

                         objections to Request for Production 40 are OVERRULED in part. Defendant

                         SHALL produce documents in its possession from January 1, 2019 until al-Jalaa

                         Tower’s destruction in May 2021, showing that Defendant communicated with

                         other tenants in al-Jalaa Tower regarding Hamas’ occupancy in the building. 21

                     25. Defendant’s relevancy, overbreadth, burdensomeness, and proportionality

                         objections to Request for Production 41 are SUSTAINED. Defendant NEED

                         NOT produce documents in response to this request. 22




    19
         This ruling relates to Item 15 of the Notice of Hearing.
    20
         This ruling relates to Item 15 of the Notice of Hearing.
    21
         This ruling relates to Item 15 of the Notice of Hearing.
    22
         This ruling relates to Item 15 of the Notice of Hearing.


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                     26. With respect to Item 16 of the Notice of Hearing, the Court finds that Defendant’s

                         responses in their Second Amended Responses are sufficiently detailed to obviate

                         the need for a ruling on this Item.

                     27. With respect to Item 17 of the Notice of Hearing, the Court DEFERS ruling.

                         Plaintiffs SHALL provide the Court with their proposed protective order on or

                         before July 25, 2024, through a Notice of Filing. Furthermore, the Parties

                         SHALL provide the Court with a Word version of their respective protective

                         orders via e-mail to Elfenbein@flsd.uscourts.gov no later than July 25, 2024.23

                         After the Parties comply with this Order, the Court will review the Parties

                         respective protective orders and enter an order that serves the interests of justice

                         and efficient prosecution of this case.

              DONE and ORDERED in Chambers in Miami, Florida on July 24, 2024.


                                                       _____________________________________
                                                       MARTY FULGUEIRA ELFENBEIN
                                                       UNITED STATES MAGISTRATE JUDGE

    cc: All Counsel of Record




    23
         Defendant previously filed its proposed protective order at ECF No. [55].

                                                          11
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                                                                                   Elizabeth Seidlin-Bernstein
                                                                                   Tel: 215.988.9774
                                                                                   Fax: 215.864.8999
                                                                                   seidline@ballardspahr.com




      August 1, 2024


      Via E-mail (maia@markmigdal.com)

      Maia Aron, Esq.
      Mark Migdal & Hayden
      80 SW 8th Street, Suite 1999
      Miami, FL 33130

      Re:    Supplemental Document Production
             Newman v. The Associated Press, No. 24-cv-20684 (S.D. Fla.)

      Dear Maia:

      A supplemental production of documents responsive to Plaintiff Noach Newman’s First
      Request for Production, Bates-labeled AP_0000204 to AP_0000411, is available at
      https://transfer.ballardspahr.com/bds/Login.do?id=A0523316061&p1=naj17y6sbgdeechbhcl
      cgcchfj20. The password is                    .

      In addition, we enclose (1) a key identifying the Request(s) to which each document in this
      production is responsive, (2) a privilege log for The AP’s productions to date, and (3) The
      AP’s third amended responses and objections to the Requests, reflecting Magistrate Judge
      Elfenbein’s July 25, 2024 Order.

      Finally, the custodians The AP is searching in pursuit of the discovery materials sought by
      Plaintiffs are:

             1.      Oded Balilty, Chief Photographer, Israel, West Bank and Gaza

             2.      Lauren Easton, Vice President, Corporate Communications

             3.      Josef Federman, News Director for Israel and the Palestinian territories

             4.      Yesica Fisch, Middle East Deputy News Director/Head of Video

             5.      Mark Grant, Vice President, Global Safety, Risk and Resilience

             6.      Adel Hana, Photographer, Gaza
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             7.      Paul Haven, Vice President for News and Head of Global Newsgathering

             8.      Tony Hicks, Deputy Director of Photography (International)

             9.      Aaron Jackson, Deputy Director of Photography, Global Production

             10.     Najib Jobain, Senior Video Producer, Gaza

             11.     Zeina Karam, Deputy News Director, Europe

             12.     Karin Laub, former Middle East News Director

             13.     Derl McCrudden, Vice President of News and Head of Global News
                     Production

             14.     Jane Mualem, Chief Accountant, Jerusalem

             15.     Julie Pace, Senior Vice President and Executive Editor

             16.     Isaac Scharf, Senior Video Producer, Israel, West Bank and Gaza

             17.     Fatima Shbair, Photographer, Gaza

             18.     Wafaa Shurafa, Senior Video Producer, Gaza

             19.     Benjamin J. Snyder, Photo Editor

             20.     Dusan Vranic, Deputy News Director/Storytelling & Photography, Middle
                     East Regional Desk


      Very truly yours,

      /s/ Elizabeth Seidlin-Bernstein
      Elizabeth Seidlin-Bernstein

      Enclosures

      cc: All counsel of record (via email)
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Defendant’s 8.1.24 Privilege Log

  Document ID      Type    Attachment(s)    Date                Subject                   From                   To                     CC             Privilege Type               Description
                                                                                                                                                                        Request for legal advice re:
                                                                                                                                                      Attorney-Client
                                                      Re: Confidential: Letter     Daisy                                       Jessica Bruce; Julie                     response to letter from Sen. Tom
 AP_Priv_0000011   Email        No         11/10/23                                                     Karen Kaiser, Esq.                            Privilege; Work
                                                      from Senator Cotton          Veerasingham                                Pace                                     Cotton re: Freelance
                                                                                                                                                      Product
                                                                                                                                                                        Photographers
                                                                                                                                                      Attorney-Client   Legal advice re: response to letter
                                                      RE: Confidential: Letter                          Daisy                  Jessica Bruce; Julie
 AP_Priv_0000012   Email        No         11/10/23                                Karen Kaiser, Esq.                                                 Privilege; Work   from Sen. Tom Cotton re:
                                                      from Senator Cotton                               Veerasingham           Pace
                                                                                                                                                      Product           Freelance Photographers
                                                                                                                                                                        Request for legal advice re:
                                                                                                                                                      Attorney-Client
                                                      Re: Confidential: Letter                                                 Jessica Bruce; Daisy                     response to letter from Sen. Tom
 AP_Priv_0000044   Email        No         11/10/23                                Julie Pace           Karen Kaiser, Esq.                            Privilege; Work
                                                      from Senator Cotton                                                      Veerasingham                             Cotton re: Freelance
                                                                                                                                                      Product
                                                                                                                                                                        Photographers
                                                                                                                                                                        Request for legal advice re:
                                                      Fwd: 12-04-23 - Multistate                                               Jessica Bruce;         Attorney-Client
                                                                                   Daisy                                                                                response to letter from Iowa
 AP_Priv_0000024   Email        No         12/5/23    Letter Regarding Material                         Karen Kaiser, Esq.     Lauren Easton;         Privilege; Work
                                                                                   Veerasingham                                                                         Department of Justice re:
                                                      Support for Terrorism                                                    Julie Pace             Product
                                                                                                                                                                        Freelance Photographers
                                                                                                                                                                        Request for legal advice re:
                                                      Fwd: 12-04-23 - Multistate                        Karen Kaiser, Esq.;                           Attorney-Client
                                                                                                                                                                        response to letter from Iowa
 AP_Priv_0000025   Email       Yes         12/5/23    Letter Regarding Material    Julie Pace           Jessica Bruce;                                Privilege; Work
                                                                                                                                                                        Department of Justice re:
                                                      Support for Terrorism                             Lauren Easton                                 Product
                                                                                                                                                                        Freelance Photographers
                                                                                                        Daisy
                                                                                                                                                                        Request for legal advice re:
                                                                                                        Veerasingham;                                 Attorney-Client
                                                      New Congress letter //                                                                                            response to letter from Rep.
 AP_Priv_0000037   Email       Yes         12/7/23                                 Lauren Easton        Karen Kaiser, Esq.;                           Privilege; Work
                                                      Hamas                                                                                                             Andrew S. Clyde re: Freelance
                                                                                                        Jessica Bruce; Julie                          Product
                                                                                                                                                                        Photographers
                                                                                                        Pace
                                                                                                        Karen Kaiser, Esq.;                                             Request for legal advice re:
                                                                                                                                                      Attorney-Client
                                                      RE: New Congress letter //                        Lauren Easton;                                                  response to letter from Rep.
 AP_Priv_0000005   Email        No         12/11/23                                Jessica Bruce                               Julie Pace             Privilege; Work
                                                      Hamas                                             Daisy                                                           Andrew S. Clyde re: Freelance
                                                                                                                                                      Product
                                                                                                        Veerasingham                                                    Photographers
                                                                                                        Karen Kaiser, Esq.;                                             Request for legal advice re:
                                                                                                                                                      Attorney-Client
                                                      Re: New Congress letter //                        Lauren Easton;                                                  response to letter from Rep.
 AP_Priv_0000006   Email        No         12/11/23                                Julie Pace                                  Jessica Bruce          Privilege; Work
                                                      Hamas                                             Daisy                                                           Andrew S. Clyde re: Freelance
                                                                                                                                                      Product
                                                                                                        Veerasingham                                                    Photographers
                                     Case 1:24-cv-20684-KMM Document 68-2 Entered on FLSD Docket 09/03/2024 Page 16 of 44


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  Document ID      Type    Attachment(s)    Date                Subject                    From                   To                     CC             Privilege Type              Description

                                                                                                                                                                         Legal advice and request for
                                                                                                         Aaron Jackson;                                Attorney-Client
                                                                                                                                                                         information re: response to letter
 AP_Priv_0000008   Email        No         12/11/23   RE: Oct. 7 inquiry            Karen Kaiser, Esq.   Julie Pace; Tony                              Privilege; Work
                                                                                                                                                                         from Rep. Andrew S. Clyde re:
                                                                                                         Hicks                                         Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                         Aaron Jackson;                                Attorney-Client
                                                      RE: Oct. 7 inquiry --                                                     Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000033   Email       Yes         12/13/23                                 Karen Kaiser, Esq.   Julie Pace; Tony                              Privilege; Work
                                                      privileged and confidential                                               Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                         Hicks                                         Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                         Aaron Jackson;                                Attorney-Client
                                                      RE: Oct. 7 inquiry --                                                     Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000035   Email       Yes         12/14/23                                 Karen Kaiser, Esq.   Julie Pace; Tony                              Privilege; Work
                                                      privileged and confidential                                               Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                         Hicks                                         Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                                                                       Attorney-Client
                                                      RE: Oct. 7 inquiry --                              Tony Hicks; Aaron      Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000009   Email        No         12/14/23                                 Karen Kaiser, Esq.                                                 Privilege; Work
                                                      privileged and confidential                        Jackson; Julie Pace    Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                                                                       Product
                                                                                                                                                                         Freelance Photographers

                                                                                                         Lauren Easton;                                Attorney-Client   Legal advice re: response to letter
                                                      RE: DRAFT // new Congress
 AP_Priv_0000027   Email       Yes         12/15/23                                 Karen Kaiser, Esq.   Jessica Bruce; Julie                          Privilege; Work   from Rep. Andrew S. Clyde re:
                                                      letter
                                                                                                         Pace                                          Product           Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                                                                       Attorney-Client
                                                      RE: Oct. 7 inquiry --                              Tony Hicks; Aaron      Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000010   Email        No         12/15/23                                 Karen Kaiser, Esq.                                                 Privilege; Work
                                                      privileged and confidential                        Jackson; Julie Pace    Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                                                                       Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                       Attorney-Client   Legal advice re: response to letter
                                                      RE: Oct. 7 inquiry --
 AP_Priv_0000013   Email        No         12/15/23                                 Karen Kaiser, Esq.   Julie Pace                                    Privilege; Work   from Rep. Andrew S. Clyde re:
                                                      privileged and confidential
                                                                                                                                                       Product           Freelance Photographers




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  Document ID      Type    Attachment(s)    Date                Subject                    From                   To                      CC             Privilege Type              Description
                                                                                                                                                                          Request for legal advice re:
                                                                                                                                                        Attorney-Client
                                                      Fwd: Oct. 7 inquiry --                                                                                              response to letter from Rep.
 AP_Priv_0000015   Email        No         12/15/23                                 Julie Pace           Karen Kaiser, Esq.                             Privilege; Work
                                                      privileged and confidential                                                                                         Andrew S. Clyde re: Freelance
                                                                                                                                                        Product
                                                                                                                                                                          Photographers

                                                                                                         Julie Pace; Lauren                             Attorney-Client   Legal advice re: response to letter
                                                      FW: Oct. 7 inquiry --
 AP_Priv_0000016   Email       Yes         12/19/23                                 Karen Kaiser, Esq.   Easton; Jessica                                Privilege; Work   from Rep. Andrew S. Clyde re:
                                                      privileged and confidential
                                                                                                         Bruce                                          Product           Freelance Photographers

                                                                                                                                                                          Request for legal advice re:
                                                                                                                                 Jessica Bruce; Julie   Attorney-Client
                                                                                                         Daisy                                                            response to letter from Rep.
 AP_Priv_0000039   Email       Yes         12/19/23   Letter to Congress            Lauren Easton                                Pace; Karen Kaiser,    Privilege; Work
                                                                                                         Veerasingham                                                     Andrew S. Clyde re: Freelance
                                                                                                                                 Esq.                   Product
                                                                                                                                                                          Photographers
                                                                                                         Julie Pace; Karen                                                Request for legal advice re:
                                                                                                                                                        Attorney-Client
                                                      FW: A letter from The                              Kaiser, Esq.; Jessica   Daisy                                    response to letter from Rep.
 AP_Priv_0000029   Email       Yes         12/20/23                                 Clare Solly                                                         Privilege; Work
                                                      Associated Press                                   Bruce; Lauren           Veerasingham                             Andrew S. Clyde re: Freelance
                                                                                                                                                        Product
                                                                                                         Easton                                                           Photographers
                                                                                                                                                                          Request for legal advice re:
                                                                                                                                                        Attorney-Client
                                                      Re: Oct. 7 inquiry --                                                      Julie Pace; Jessica                      response to letter from Rep.
 AP_Priv_0000041   Email        No         12/20/23                                 Lauren Easton        Karen Kaiser, Esq.                             Privilege; Work
                                                      privileged and confidential                                                Bruce                                    Andrew S. Clyde re: Freelance
                                                                                                                                                        Product
                                                                                                                                                                          Photographers
                                                                                                                                                                          Request for legal advice re:
                                                                                                                                 Jessica Bruce; Julie   Attorney-Client
                                                                                                         Daisy                                                            response to letter from Rep.
 AP_Priv_0000042   Email       Yes         12/20/23   RE: Letter to Congress        Lauren Easton                                Pace; Karen Kaiser,    Privilege; Work
                                                                                                         Veerasingham                                                     Andrew S. Clyde re: Freelance
                                                                                                                                 Esq.                   Product
                                                                                                                                                                          Photographers
                                                      FW: Demand Letter from                             Jessica Bruce;                                 Attorney-Client
                                                                                                                                 Daisy                                    Legal advice re: response to
 AP_Priv_0000021   Email       Yes         1/18/24    the National Jewish           Karen Kaiser, Esq.   Lauren Easton;                                 Privilege; Work
                                                                                                                                 Veerasingham                             demand letter from NJAC
                                                      Advocacy Center, Inc.                              Julie Pace                                     Product
                                                      Re: Demand Letter from                                                     Lauren Easton;         Attorney-Client   Request for legal advice re:
 AP_Priv_0000001   Email        No         1/19/24    the National Jewish           Julie Pace           Karen Kaiser, Esq.      Jessica Bruce; Daisy   Privilege; Work   response to demand letter from
                                                      Advocacy Center, Inc.                                                      Veerasingham           Product           NJAC
                                                      Re: Demand Letter from                                                                            Attorney-Client   Request for legal advice re:
                                                                                    Daisy
 AP_Priv_0000002   Email        No         1/22/24    the National Jewish                                Lauren Easton           Karen Kaiser, Esq.     Privilege; Work   response to demand letter from
                                                                                    Veerasingham
                                                      Advocacy Center, Inc.                                                                             Product           NJAC



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  Document ID      Type    Attachment(s)    Date                Subject                 From                   To                 CC        Privilege Type              Description
                                                     RE: Demand Letter from                                                                Attorney-Client
                                                                                                                                                             Legal advice re: response to
 AP_Priv_0000003   Email       Yes         1/22/24   the National Jewish         Karen Kaiser, Esq.   Lauren Easton                        Privilege; Work
                                                                                                                                                             demand letter from NJAC
                                                     Advocacy Center, Inc.                                                                 Product
                                                     RE: Demand Letter from                                                                Attorney-Client   Discussion of legal advice re:
                                                                                                      Daisy
 AP_Priv_0000007   Email        No         1/22/24   the National Jewish         Lauren Easton                                             Privilege; Work   response to demand letter from
                                                                                                      Veerasingham
                                                     Advocacy Center, Inc.                                                                 Product           NJAC
                                                     Easton, Lauren mentioned
                                                                                                                                           Attorney-Client   Request for legal advice re:
                                                     you in "2024_DV letter to
 AP_Priv_0000031   Email       Yes         1/22/24                               Lauren Easton        Karen Kaiser, Esq.                   Privilege; Work   response to demand letter from
                                                     National Jewish Advocacy
                                                                                                                                           Product           NJAC
                                                     Center_draft".
                                                     For you... FW: Demand
                                                                                                                                           Attorney-Client   Discussion of legal advice re:
                                                     Letter from the National
 AP_Priv_0000014   Email        No         1/22/24                               Lauren Easton        Julie Pace                           Privilege; Work   response to demand letter from
                                                     Jewish Advocacy Center,
                                                                                                                                           Product           NJAC
                                                     Inc.
                                                     RE: Demand Letter from                                                                Attorney-Client
                                                                                                                                                             Legal advice re: response to
 AP_Priv_0000004   Email        No         1/24/24   the National Jewish         Karen Kaiser, Esq.   Clare Solly          Lauren Easton   Privilege; Work
                                                                                                                                                             demand letter from NJAC
                                                     Advocacy Center, Inc.                                                                 Product




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  Document ID      Type    Attachment(s)    Date                Subject                   From                   To                     CC             Privilege Type                Description
                                                                                                                                                                        Request for legal advice and
                                                                                                                                                      Attorney-Client   provision of information
                                                      Re: Confidential: Letter     Daisy                                       Jessica Bruce; Julie
 AP_Priv_0000011   Email        No         11/10/23                                                     Karen Kaiser, Esq.                            Privilege; Work   requested by counsel re: response
                                                      from Senator Cotton          Veerasingham                                Pace
                                                                                                                                                      Product           to letter from Sen. Tom Cotton re:
                                                                                                                                                                        Freelance Photographers
                                                                                                                                                                        Legal advice and request for
                                                                                                                                                      Attorney-Client
                                                      RE: Confidential: Letter                          Daisy                  Jessica Bruce; Julie                     information re: response to letter
 AP_Priv_0000012   Email        No         11/10/23                                Karen Kaiser, Esq.                                                 Privilege; Work
                                                      from Senator Cotton                               Veerasingham           Pace                                     from Sen. Tom Cotton re:
                                                                                                                                                      Product
                                                                                                                                                                        Freelance Photographers
                                                                                                                                                                        Request for legal advice and
                                                                                                                                                      Attorney-Client   provision of information
                                                      Re: Confidential: Letter                                                 Jessica Bruce; Daisy
 AP_Priv_0000044   Email        No         11/10/23                                Julie Pace           Karen Kaiser, Esq.                            Privilege; Work   requested by counsel re: response
                                                      from Senator Cotton                                                      Veerasingham
                                                                                                                                                      Product           to letter from Sen. Tom Cotton re:
                                                                                                                                                                        Freelance Photographers
                                                                                                                                                                        Request for legal advice re:
                                                      Fwd: 12-04-23 - Multistate                                               Jessica Bruce;
                                                                                   Daisy                                                              Attorney-Client   response to letter from Iowa
 AP_Priv_0000024   Email        No         12/5/23    Letter Regarding Material                         Karen Kaiser, Esq.     Lauren Easton;
                                                                                   Veerasingham                                                       Privilege         Department of Justice re:
                                                      Support for Terrorism                                                    Julie Pace
                                                                                                                                                                        Freelance Photographers
                                                                                                                                                                        Request for legal advice re:
                                                      Fwd: 12-04-23 - Multistate                        Karen Kaiser, Esq.;
                                                                                                                                                      Attorney-Client   response to letter from Iowa
 AP_Priv_0000025   Email       Yes         12/5/23    Letter Regarding Material    Julie Pace           Jessica Bruce;
                                                                                                                                                      Privilege         Department of Justice re:
                                                      Support for Terrorism                             Lauren Easton
                                                                                                                                                                        Freelance Photographers
                                                                                                        Daisy
                                                                                                                                                                        Request for legal advice re:
                                                                                                        Veerasingham;
                                                      New Congress letter //                                                                          Attorney-Client   response to letter from Rep.
 AP_Priv_0000037   Email       Yes         12/7/23                                 Lauren Easton        Karen Kaiser, Esq.;
                                                      Hamas                                                                                           Privilege         Andrew S. Clyde re: Freelance
                                                                                                        Jessica Bruce; Julie
                                                                                                                                                                        Photographers
                                                                                                        Pace
                                                                                                        Karen Kaiser, Esq.;                                             Request for legal advice re:
                                                      RE: New Congress letter //                        Lauren Easton;                                Attorney-Client   response to letter from Rep.
 AP_Priv_0000005   Email        No         12/11/23                                Jessica Bruce                               Julie Pace
                                                      Hamas                                             Daisy                                         Privilege         Andrew S. Clyde re: Freelance
                                                                                                        Veerasingham                                                    Photographers
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  Document ID      Type    Attachment(s)    Date                Subject                    From                   To                     CC             Privilege Type                Description
                                                                                                                                                                         Request for legal advice and
                                                                                                         Karen Kaiser, Esq.;
                                                                                                                                                       Attorney-Client   provision of information
                                                      Re: New Congress letter //                         Lauren Easton;
 AP_Priv_0000006   Email        No         12/11/23                                 Julie Pace                                  Jessica Bruce          Privilege; Work   requested by counsel re: response
                                                      Hamas                                              Daisy
                                                                                                                                                       Product           to letter from Rep. Andrew S.
                                                                                                         Veerasingham
                                                                                                                                                                         Clyde re: Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                         Aaron Jackson;                                Attorney-Client
                                                                                                                                                                         information re: response to letter
 AP_Priv_0000008   Email        No         12/11/23   RE: Oct. 7 inquiry            Karen Kaiser, Esq.   Julie Pace; Tony                              Privilege; Work
                                                                                                                                                                         from Rep. Andrew S. Clyde re:
                                                                                                         Hicks                                         Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                         Aaron Jackson;                                Attorney-Client
                                                      RE: Oct. 7 inquiry --                                                     Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000033   Email       Yes         12/13/23                                 Karen Kaiser, Esq.   Julie Pace; Tony                              Privilege; Work
                                                      privileged and confidential                                               Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                         Hicks                                         Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                         Aaron Jackson;                                Attorney-Client
                                                      RE: Oct. 7 inquiry --                                                     Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000035   Email       Yes         12/14/23                                 Karen Kaiser, Esq.   Julie Pace; Tony                              Privilege; Work
                                                      privileged and confidential                                               Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                         Hicks                                         Product
                                                                                                                                                                         Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                                                                       Attorney-Client
                                                      RE: Oct. 7 inquiry --                              Tony Hicks; Aaron      Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000009   Email        No         12/14/23                                 Karen Kaiser, Esq.                                                 Privilege; Work
                                                      privileged and confidential                        Jackson; Julie Pace    Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                                                                       Product
                                                                                                                                                                         Freelance Photographers

                                                                                                         Lauren Easton;                                Attorney-Client   Legal advice re: response to letter
                                                      RE: DRAFT // new Congress
 AP_Priv_0000027   Email       Yes         12/15/23                                 Karen Kaiser, Esq.   Jessica Bruce; Julie                          Privilege; Work   from Rep. Andrew S. Clyde re:
                                                      letter
                                                                                                         Pace                                          Product           Freelance Photographers

                                                                                                                                                                         Legal advice and request for
                                                                                                                                                       Attorney-Client
                                                      RE: Oct. 7 inquiry --                              Tony Hicks; Aaron      Brian Barrett, Esq.;                     information re: response to letter
 AP_Priv_0000010   Email        No         12/15/23                                 Karen Kaiser, Esq.                                                 Privilege; Work
                                                      privileged and confidential                        Jackson; Julie Pace    Derl McCrudden                           from Rep. Andrew S. Clyde re:
                                                                                                                                                       Product
                                                                                                                                                                         Freelance Photographers



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  Document ID      Type    Attachment(s)    Date                Subject                    From                  To                    CC             Privilege Type              Description

                                                                                                                                                     Attorney-Client   Legal advice re: response to letter
                                                      RE: Oct. 7 inquiry --
 AP_Priv_0000013   Email        No         12/15/23                                 Karen Kaiser, Esq.   Julie Pace                                  Privilege; Work   from Rep. Andrew S. Clyde re:
                                                      privileged and confidential
                                                                                                                                                     Product           Freelance Photographers

                                                                                                                                                                       Request for legal advice re:
                                                                                                                                                     Attorney-Client
                                                      Fwd: Oct. 7 inquiry --                                                                                           response to letter from Rep.
 AP_Priv_0000015   Email        No         12/15/23                                 Julie Pace           Karen Kaiser, Esq.                          Privilege; Work
                                                      privileged and confidential                                                                                      Andrew S. Clyde re: Freelance
                                                                                                                                                     Product
                                                                                                                                                                       Photographers

                                                                                                         Julie Pace; Lauren                          Attorney-Client   Legal advice re: response to letter
                                                      FW: Oct. 7 inquiry --
 AP_Priv_0000016   Email       Yes         12/19/23                                 Karen Kaiser, Esq.   Easton; Jessica                             Privilege; Work   from Rep. Andrew S. Clyde re:
                                                      privileged and confidential
                                                                                                         Bruce                                       Product           Freelance Photographers

                                                                                                                                                                       Request for legal advice re:
                                                                                                                              Jessica Bruce; Julie   Attorney-Client
                                                                                                         Daisy                                                         response to letter from Rep.
 AP_Priv_0000039   Email       Yes         12/19/23   Letter to Congress            Lauren Easton                             Pace; Karen Kaiser,    Privilege; Work
                                                                                                         Veerasingham                                                  Andrew S. Clyde re: Freelance
                                                                                                                              Esq.                   Product
                                                                                                                                                                       Photographers
                                                                                                                                                                       Request for legal advice and
                                                                                                                                                     Attorney-Client   provision of information
                                                      Re: Oct. 7 inquiry --                                                   Julie Pace; Jessica
 AP_Priv_0000041   Email        No         12/20/23                                 Lauren Easton        Karen Kaiser, Esq.                          Privilege; Work   requested by counsel re: response
                                                      privileged and confidential                                             Bruce
                                                                                                                                                     Product           to letter from Rep. Andrew S.
                                                                                                                                                                       Clyde re: Freelance Photographers
                                                                                                                                                                       Request for legal advice re:
                                                                                                                              Jessica Bruce; Julie   Attorney-Client
                                                                                                         Daisy                                                         response to letter from Rep.
 AP_Priv_0000042   Email       Yes         12/20/23   RE: Letter to Congress        Lauren Easton                             Pace; Karen Kaiser,    Privilege; Work
                                                                                                         Veerasingham                                                  Andrew S. Clyde re: Freelance
                                                                                                                              Esq.                   Product
                                                                                                                                                                       Photographers
                                                      FW: Demand Letter from                             Jessica Bruce;                              Attorney-Client   Legal advice and request for
                                                                                                                              Daisy
 AP_Priv_0000021   Email       Yes         1/18/24    the National Jewish           Karen Kaiser, Esq.   Lauren Easton;                              Privilege; Work   information re: response to
                                                                                                                              Veerasingham
                                                      Advocacy Center, Inc.                              Julie Pace                                  Product           demand letter from NJAC
                                                                                                                                                                       Request for legal advice and
                                                      Re: Demand Letter from                                                  Lauren Easton;         Attorney-Client
                                                                                                                                                                       provision of information
 AP_Priv_0000001   Email        No         1/19/24    the National Jewish           Julie Pace           Karen Kaiser, Esq.   Jessica Bruce; Daisy   Privilege; Work
                                                                                                                                                                       requested by counsel re: response
                                                      Advocacy Center, Inc.                                                   Veerasingham           Product
                                                                                                                                                                       to demand letter from NJAC




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  Document ID      Type    Attachment(s)    Date                Subject                 From                   To                  CC            Privilege Type              Description
                                                     Re: Demand Letter from                                                                     Attorney-Client   Request for legal advice re:
                                                                                 Daisy
 AP_Priv_0000002   Email        No         1/22/24   the National Jewish                              Lauren Easton        Karen Kaiser, Esq.   Privilege; Work   response to demand letter from
                                                                                 Veerasingham
                                                     Advocacy Center, Inc.                                                                      Product           NJAC
                                                     RE: Demand Letter from                                                                     Attorney-Client
                                                                                                                                                                  Legal advice re: response to
 AP_Priv_0000003   Email       Yes         1/22/24   the National Jewish         Karen Kaiser, Esq.   Lauren Easton                             Privilege; Work
                                                                                                                                                                  demand letter from NJAC
                                                     Advocacy Center, Inc.                                                                      Product
                                                     RE: Demand Letter from                                                                     Attorney-Client   Sharing of document reflecting
                                                                                                      Daisy
 AP_Priv_0000007   Email        No         1/22/24   the National Jewish         Lauren Easton                                                  Privilege; Work   legal advice re: response to
                                                                                                      Veerasingham
                                                     Advocacy Center, Inc.                                                                      Product           demand letter from NJAC
                                                     Easton, Lauren mentioned
                                                                                                                                                                  Request for legal advice re:
                                                     you in "2024_DV letter to                                                                  Attorney-Client
 AP_Priv_0000031   Email       Yes         1/22/24                               Lauren Easton        Karen Kaiser, Esq.                                          response to demand letter from
                                                     National Jewish Advocacy                                                                   Privilege
                                                                                                                                                                  NJAC
                                                     Center_draft".
                                                     For you... FW: Demand
                                                                                                                                                Attorney-Client   Sharing of document reflecting
                                                     Letter from the National
 AP_Priv_0000014   Email        No         1/22/24                               Lauren Easton        Julie Pace                                Privilege; Work   legal advice re: response to
                                                     Jewish Advocacy Center,
                                                                                                                                                Product           demand letter from NJAC
                                                     Inc.
                                                     RE: Demand Letter from                                                                     Attorney-Client
                                                                                                                                                                  Legal advice re: response to
 AP_Priv_0000004   Email        No         1/24/24   the National Jewish         Karen Kaiser, Esq.   Clare Solly          Lauren Easton        Privilege; Work
                                                                                                                                                                  demand letter from NJAC
                                                     Advocacy Center, Inc.                                                                      Product




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                                                                                                                                                        Privilege
  Document ID      Type    Attachment(s)     Date               Subject                    From                  To                       CC                                    Description
                                                                                                                                                          Type
                                                        Re: Broken Borders:
                                                        AP & Reuters Pictures                                                                          Attorney-    Legal advice re: Honest Reporting
 AP_Priv_0000046   Email        No         11/9/2023    of Hamas Atrocities        Karen Kaiser, Esq.   Lauren Easton           Jessica Bruce          Client       allegations re: Freelance
                                                        Raise Ethical Questions                                                                        Privilege    Photographers
                                                        | Honest Reporting
                                                                                                                                                       Attorney-    Request for legal advice and
                                                                                                                                                       Client       provision of information requested
                                                        Re: Confidential: Letter                                                Jessica Bruce; Julie
 AP_Priv_0000011   Email        No         11/10/2023                              Daisy Veerasingham   Karen Kaiser, Esq.                             Privilege;   by counsel re: response to letter
                                                        from Senator Cotton                                                     Pace
                                                                                                                                                       Work         from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Product      Photographers
                                                                                                                                                       Attorney-
                                                                                                                                                                    Legal advice and request for
                                                                                                                                                       Client
                                                        RE: Confidential: Letter                                                Jessica Bruce; Julie                information re: response to letter
 AP_Priv_0000012   Email        No         11/10/2023                              Karen Kaiser, Esq.   Daisy Veerasingham                             Privilege;
                                                        from Senator Cotton                                                     Pace                                from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Work
                                                                                                                                                                    Photographers
                                                                                                                                                       Product
                                                                                                                                                       Attorney-    Request for legal advice and
                                                                                                                                                       Client       provision of information requested
                                                        Re: Confidential: Letter                                                Jessica Bruce; Daisy
 AP_Priv_0000044   Email        No         11/10/2023                              Julie Pace           Karen Kaiser, Esq.                             Privilege;   by counsel re: response to letter
                                                        from Senator Cotton                                                     Veerasingham
                                                                                                                                                       Work         from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Product      Photographers
                                                                                                                                                       Attorney-
                                                                                                                                                                    Legal advice and request for
                                                                                                                                                       Client
                                                        Tom Cotton draft                                Jessica Bruce; Lauren                                       information re: response to letter
 AP_Priv_0000070   Email       Yes         11/10/2023                              Karen Kaiser, Esq.                                                  Privilege;
                                                        response                                        Easton                                                      from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Work
                                                                                                                                                                    Photographers
                                                                                                                                                       Product
                                                                                                                                                       Attorney-
                                                                                                                                                       Client       Request for legal advice re:
                                                        RE: Tom Cotton draft                            Lauren Easton; Karen
 AP_Priv_0000047   Email        No         11/10/2023                              Jessica Bruce                                                       Privilege;   response to letter from Sen. Tom
                                                        response                                        Kaiser, Esq.
                                                                                                                                                       Work         Cotton re: Freelance Photographers
                                                                                                                                                       Product
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  Document ID      Type    Attachment(s)     Date               Subject                From                  To                      CC                                  Description
                                                                                                                                                    Type
                                                                                                                                                Attorney-     Request for legal advice and
                                                                                                                                                Client        provision of information requested
                                                                                                    Daisy Veerasingham;     Julie Pace; Karen
 AP_Priv_0000048   Email        No         11/10/2023   RE: Cotton response    Jessica Bruce                                                    Privilege;    by counsel re: response to letter
                                                                                                    Lauren Easton           Kaiser, Esq.
                                                                                                                                                Work          from Sen. Tom Cotton re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                    Daisy Veerasingham;                         Attorney-
                                                                                                    Lauren Easton; Julie                        Client        Request for legal advice re:
                                                        NEW draft Cotton
 AP_Priv_0000049   Email        No         11/10/2023                          Jessica Bruce        Pace; "Kaiser,                              Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                    Karen"<KKaiser@ap.                          Work          Cotton re: Freelance Photographers
                                                                                                    org>                                        Product
                                                                                                                                                Attorney-
                                                                                                    Jessica Bruce; Lauren                       Client        Request for legal advice re:
                                                        RE: NEW draft Cotton
 AP_Priv_0000050   Email        No         11/10/2023                          Daisy Veerasingham   Easton; Julie Pace;                         Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                    Karen Kaiser, Esq.                          Work          Cotton re: Freelance Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-
                                                                                                                                                              Sharing of document reflecting
                                                                                                                                                Client
                                                        FW: two slightly                            Julie Pace; Lauren                                        legal advice re: response to letter
 AP_Priv_0000051   Email        No         11/10/2023                          Jessica Bruce                                                    Privilege;
                                                        different versions.                         Easton                                                    from Sen. Tom Cotton re: Freelance
                                                                                                                                                Work
                                                                                                                                                              Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-
                                                                                                                                                              Sharing of document reflecting
                                                                                                                                                Client
                                                                                                                                                              legal advice re: response to letter
 AP_Priv_0000052   Email        No         11/10/2023   style check            Jessica Bruce        Lauren Easton                               Privilege;
                                                                                                                                                              from Sen. Tom Cotton re: Freelance
                                                                                                                                                Work
                                                                                                                                                              Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-
                                                                                                                                                              Sharing of document reflecting
                                                                                                                                                Client
                                                                                                                                                              legal advice re: response to letter
 AP_Priv_0000053   Email        No         11/10/2023   Re: style check        Jessica Bruce        Lauren Easton                               Privilege;
                                                                                                                                                              from Sen. Tom Cotton re: Freelance
                                                                                                                                                Work
                                                                                                                                                              Photographers
                                                                                                                                                Product




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  Document ID      Type    Attachment(s)     Date              Subject                 From                 To                      CC                                    Description
                                                                                                                                                     Type
                                                                                                   Karen Kaiser, Esq.;                           Attorney-
                                                                                                   Lauren Easton; Julie                          Client        Request for legal advice re:
 AP_Priv_0000054   Email        No         11/10/2023   Cotton Letter          Jessica Bruce       Pace; Daisy                                   Privilege;    response to letter from Sen. Tom
                                                                                                   Veerasingham;                                 Work          Cotton re: Freelance Photographers
                                                                                                   Jessica Bruce                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                 Client        Request for legal advice re:
                                                        Re: Tom Cotton draft
 AP_Priv_0000055   Email        No         11/10/2023                          Lauren Easton       Karen Kaiser, Esq.     Jessica Bruce          Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                                                 Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                 Client        Request for legal advice re:
                                                        Re: Tom Cotton draft
 AP_Priv_0000056   Email        No         11/10/2023                          Lauren Easton       Karen Kaiser, Esq.     Jessica Bruce          Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                                                 Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                 Client        Request for legal advice re:
                                                        Re: Tom Cotton draft
 AP_Priv_0000074   Email        No         11/10/2023                          Lauren Easton       Jessica Bruce          Karen Kaiser, Esq.     Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                                                 Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                               Sharing of document reflecting
                                                                                                                                                 Client
                                                                                                                                                               legal advice re: response to letter
 AP_Priv_0000075   Email        No         11/10/2023   Re: style check        Lauren Easton       Jessica Bruce                                 Privilege;
                                                                                                                                                               from Sen. Tom Cotton re: Freelance
                                                                                                                                                 Work
                                                                                                                                                               Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                          Jessica Bruce; Julie   Client        Request for legal advice re:
                                                        Re: NEW draft Cotton
 AP_Priv_0000079   Email        No         11/10/2023                          Lauren Easton       Daisy Veerasingham     Pace; Karen Kaiser,    Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                          Esq.                   Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product




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  Document ID      Type    Attachment(s)     Date               Subject                  From                  To                      CC                                       Description
                                                                                                                                                          Type
                                                                                                                                                      Attorney-
                                                                                                                              Daisy Veerasingham;     Client        Legal advice re: Honest Reporting
 AP_Priv_0000072   Email       Yes         11/11/2023   Re: FYI // [redacted]    Karen Kaiser, Esq.   Lauren Easton           Jessica Bruce; Julie    Privilege;    allegations re: Freelance
                                                                                                                              Pace                    Work          Photographers
                                                                                                                                                      Product
                                                        Fwd: 12-04-23 -                                                                                             Request for legal advice re:
                                                                                                                                                      Attorney-
                                                        Multistate Letter                                                     Jessica Bruce; Lauren                 response to letter from Iowa
 AP_Priv_0000024   Email        No         12/5/2023                             Daisy Veerasingham   Karen Kaiser, Esq.                              Client
                                                        Regarding Material                                                    Easton; Julie Pace                    Department of Justice re: Freelance
                                                                                                                                                      Privilege
                                                        Support for Terrorism                                                                                       Photographers
                                                        Fwd: 12-04-23 -                                                                                             Request for legal advice re:
                                                                                                      Karen Kaiser, Esq.;                             Attorney-
                                                        Multistate Letter                                                                                           response to letter from Iowa
 AP_Priv_0000025   Email       Yes         12/5/2023                             Julie Pace           Jessica Bruce; Lauren                           Client
                                                        Regarding Material                                                                                          Department of Justice re: Freelance
                                                                                                      Easton                                          Privilege
                                                        Support for Terrorism                                                                                       Photographers
                                                                                                      Daisy Veerasingham;                                           Request for legal advice re:
                                                                                                                                                      Attorney-
                                                        New Congress letter //                        Karen Kaiser, Esq.;                                           response to letter from Rep.
 AP_Priv_0000037   Email       Yes         12/7/2023                             Lauren Easton                                                        Client
                                                        Hamas                                         Jessica Bruce; Julie                                          Andrew S. Clyde re: Freelance
                                                                                                                                                      Privilege
                                                                                                      Pace                                                          Photographers
                                                                                                                                                                    Request for legal advice re:
                                                                                                      Karen Kaiser, Esq.;                             Attorney-
                                                        RE: New Congress                                                                                            response to letter from Rep.
 AP_Priv_0000005   Email        No         12/11/2023                            Jessica Bruce        Lauren Easton; Daisy    Julie Pace              Client
                                                        letter // Hamas                                                                                             Andrew S. Clyde re: Freelance
                                                                                                      Veerasingham                                    Privilege
                                                                                                                                                                    Photographers
                                                                                                                                                      Attorney-     Request for legal advice and
                                                                                                      Karen Kaiser, Esq.;                             Client        provision of information requested
                                                        Re: New Congress
 AP_Priv_0000006   Email        No         12/11/2023                            Julie Pace           Lauren Easton; Daisy    Jessica Bruce           Privilege;    by counsel re: response to letter
                                                        letter // Hamas
                                                                                                      Veerasingham                                    Work          from Rep. Andrew S. Clyde re:
                                                                                                                                                      Product       Freelance Photographers
                                                                                                                                                      Attorney-
                                                                                                                                                                    Legal advice and request for
                                                                                                                                                      Client
                                                                                                      Aaron Jackson; Julie                                          information re: response to letter
 AP_Priv_0000008   Email        No         12/11/2023   RE: Oct. 7 inquiry       Karen Kaiser, Esq.                                                   Privilege;
                                                                                                      Pace; Tony Hicks                                              from Rep. Andrew S. Clyde re:
                                                                                                                                                      Work
                                                                                                                                                                    Freelance Photographers
                                                                                                                                                      Product




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                                                                                                                                                        Type
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Aaron Jackson; Julie   Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000033   Email       Yes         12/13/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Pace; Tony Hicks       Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Tony Hicks; Aaron      Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000009   Email        No         12/14/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Jackson; Julie Pace    Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Aaron Jackson; Julie   Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000035   Email       Yes         12/14/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Pace; Tony Hicks       Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Tony Hicks; Aaron      Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000010   Email        No         12/15/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Jackson; Julie Pace    Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                        RE: Oct. 7 inquiry --                                                                       Client        Legal advice re: response to letter
 AP_Priv_0000013   Email        No         12/15/2023   privileged and           Karen Kaiser, Esq.   Julie Pace                                    Privilege;    from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work          Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Request for legal advice re:
                                                        Fwd: Oct. 7 inquiry --                                                                      Client
                                                                                                                                                                  response to letter from Rep.
 AP_Priv_0000015   Email        No         12/15/2023   privileged and           Julie Pace           Karen Kaiser, Esq.                            Privilege;
                                                                                                                                                                  Andrew S. Clyde re: Freelance
                                                        confidential                                                                                Work
                                                                                                                                                                  Photographers
                                                                                                                                                    Product




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  Document ID      Type    Attachment(s)     Date               Subject                 From                   To                   CC                                    Description
                                                                                                                                                    Type
                                                                                                                                                Attorney-
                                                                                                     Lauren Easton;                             Client        Legal advice re: response to letter
                                                        RE: DRAFT // new
 AP_Priv_0000027   Email       Yes         12/15/2023                           Karen Kaiser, Esq.   Jessica Bruce; Julie                       Privilege;    from Rep. Andrew S. Clyde re:
                                                        Congress letter
                                                                                                     Pace                                       Work          Freelance Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Oded Balilty; Tony
 AP_Priv_0000057   Email        No         12/15/2023   privileged and          Dusan Vranic                                                    Privilege;    counsel re: response to letter from
                                                                                                     Hicks
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                                            Tony Hicks; Dusan
 AP_Priv_0000058   Email        No         12/15/2023   privileged and          Jane Mualem          Oded Balilty                               Privilege;    counsel re: response to letter from
                                                                                                                            Vranic
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Jane Mualem; Oded
 AP_Priv_0000059   Email        No         12/15/2023   privileged and          Tony Hicks                                  Dusan Vranic        Privilege;    counsel re: response to letter from
                                                                                                     Balilty
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Oded Balilty; Dusan
 AP_Priv_0000060   Email        No         12/15/2023   privileged and          Tony Hicks                                                      Privilege;    counsel re: response to letter from
                                                                                                     Vranic
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Tony Hicks; Oded
 AP_Priv_0000061   Email        No         12/15/2023   privileged and          Dusan Vranic                                                    Privilege;    counsel re: response to letter from
                                                                                                     Balilty
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers




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                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Jane Mualem; Oded
 AP_Priv_0000080   Email       Yes         12/15/2023   privileged and          Dusan Vranic                              Tony Hicks    Privilege;    counsel re: response to letter from
                                                                                                   Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Dusan Vranic; Jane
 AP_Priv_0000062   Email        No         12/15/2023   privileged and          Tony Hicks                                              Privilege;    counsel re: response to letter from
                                                                                                   Mualem; Oded Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Tony Hicks; Oded
 AP_Priv_0000063   Email        No         12/15/2023   privileged and          Dusan Vranic                                            Privilege;    counsel re: response to letter from
                                                                                                   Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                                      Gathering information requested
                                                                                                                                        Work          by counsel re: response to letter
 AP_Priv_0000065   Email        No         12/15/2023                           Dusan Vranic       Tony Hicks
                                                                                                                                        Product       from Rep. Andrew S. Clyde re:
                                                                                                                                                      Freelance Photographers
                                                                                                                                                      Gathering information requested
                                                                                                                                        Work          by counsel re: response to letter
 AP_Priv_0000066   Email        No         12/15/2023   Re:                     Dusan Vranic       Tony Hicks
                                                                                                                                        Product       from Rep. Andrew S. Clyde re:
                                                                                                                                                      Freelance Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Oded Balilty; Tony
 AP_Priv_0000067   Email        N          12/15/2023   privileged and          Dusan Vranic                                            Privilege;    counsel re: response to letter from
                                                                                                   Hicks
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Jane Mualem; Tony
 AP_Priv_0000082   Email       Yes         12/17/2023   privileged and          Dusan Vranic                              Jane Mualem   Privilege;    counsel re: response to letter from
                                                                                                   Hicks; Oded Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers



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                                                                                                                                                    Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                       Client        gathering information requested by
                                                                                                     Jane Mualem; Tony
 AP_Priv_0000064   Email        No         12/17/2023   privileged and          Dusan Vranic                                                        Privilege;    counsel re: response to letter from
                                                                                                     Hicks; Oded Balilty
                                                        confidential                                                                                Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                    Product       Photographers
                                                                                                                                                    Attorney-
                                                        FW: Oct. 7 inquiry --                                                                       Client        Legal advice re: response to letter
                                                                                                     Julie Pace; Lauren
 AP_Priv_0000016   Email       Yes         12/19/2023   privileged and          Karen Kaiser, Esq.                                                  Privilege;    from Rep. Andrew S. Clyde re:
                                                                                                     Easton; Jessica Bruce
                                                        confidential                                                                                Work          Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Request for legal advice re:
                                                                                                                             Jessica Bruce; Julie   Client
                                                                                                                                                                  response to letter from Rep.
 AP_Priv_0000039   Email       Yes         12/19/2023   Letter to Congress      Lauren Easton        Daisy Veerasingham      Pace; Karen Kaiser,    Privilege;
                                                                                                                                                                  Andrew S. Clyde re: Freelance
                                                                                                                             Esq.                   Work
                                                                                                                                                                  Photographers
                                                                                                                                                    Product
                                                        Re: Easton, Lauren                                                                          Attorney-
                                                        mentioned you in                                                                            Client        Legal advice re: response to letter
 AP_Priv_0000045   Email        No         12/19/2023   "2023_12_Dec_DV         Karen Kaiser, Esq.   Lauren Easton                                  Privilege;    from Rep. Andrew S. Clyde re:
                                                        letter reply to                                                                             Work          Freelance Photographers
                                                        Congress_V2".                                                                               Product
                                                        Easton, Lauren                                                                              Attorney-
                                                                                                                                                                  Request for legal advice re:
                                                        mentioned you in                                                                            Client
                                                                                                                                                                  response to letter from Rep.
 AP_Priv_0000076   Email        No         12/19/2023   "2023_12_Dec_DV         Lauren Easton        Karen Kaiser, Esq.                             Privilege;
                                                                                                                                                                  Andrew S. Clyde re: Freelance
                                                        letter reply to                                                                             Work
                                                                                                                                                                  Photographers
                                                        Congress_V2".                                                                               Product
                                                                                                                                                    Attorney-     Request for legal advice and
                                                        Oct. 7 inquiry --                                                                           Client        provision of information requested
 AP_Priv_0000087   Email       Yes         12/19/2023   privileged and          Tony Hicks           Karen Kaiser, Esq.                             Privilege;    by counsel re: response to letter
                                                        confidential                                                                                Work          from Rep. Andrew S. Clyde re:
                                                                                                                                                    Product       Freelance Photographers




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                                                                                                                                                         Type
                                                                                                                                                     Attorney-     Request for legal advice and
                                                        Re: Oct. 7 inquiry --                                                                        Client        provision of information requested
                                                                                                                              Julie Pace; Jessica
 AP_Priv_0000041   Email        No         12/20/2023   privileged and           Lauren Easton        Karen Kaiser, Esq.                             Privilege;    by counsel re: response to letter
                                                                                                                              Bruce
                                                        confidential                                                                                 Work          from Rep. Andrew S. Clyde re:
                                                                                                                                                     Product       Freelance Photographers
                                                                                                                                                     Attorney-
                                                                                                                                                                   Request for legal advice re:
                                                                                                                              Jessica Bruce; Julie   Client
                                                                                                                                                                   response to letter from Rep.
 AP_Priv_0000042   Email       Yes         12/20/2023   RE: Letter to Congress   Lauren Easton        Daisy Veerasingham      Pace; Karen Kaiser,    Privilege;
                                                                                                                                                                   Andrew S. Clyde re: Freelance
                                                                                                                              Esq.                   Work
                                                                                                                                                                   Photographers
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        FW: Demand Letter
                                                                                                                                                     Client        Legal advice and request for
                                                        from the National                             Jessica Bruce; Lauren
 AP_Priv_0000021   Email       Yes         1/18/2024                             Karen Kaiser, Esq.                           Daisy Veerasingham     Privilege;    information re: response to
                                                        Jewish Advocacy                               Easton; Julie Pace
                                                                                                                                                     Work          demand letter from NJAC
                                                        Center, Inc.
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        Re: Demand Letter                                                                                          Request for legal advice and
                                                                                                                              Lauren Easton;         Client
                                                        from the National                                                                                          provision of information requested
 AP_Priv_0000001   Email        No         1/19/2024                             Julie Pace           Karen Kaiser, Esq.      Jessica Bruce; Daisy   Privilege;
                                                        Jewish Advocacy                                                                                            by counsel re: response to demand
                                                                                                                              Veerasingham           Work
                                                        Center, Inc.                                                                                               letter from NJAC
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        Re: Demand Letter
                                                                                                                                                     Client        Request for legal advice re:
                                                        from the National
 AP_Priv_0000002   Email        No         1/22/2024                             Daisy Veerasingham   Lauren Easton           Karen Kaiser, Esq.     Privilege;    response to demand letter from
                                                        Jewish Advocacy
                                                                                                                                                     Work          NJAC
                                                        Center, Inc.
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        RE: Demand Letter
                                                                                                                                                     Client
                                                        from the National                                                                                          Legal advice re: response to
 AP_Priv_0000003   Email       Yes         1/22/2024                             Karen Kaiser, Esq.   Lauren Easton                                  Privilege;
                                                        Jewish Advocacy                                                                                            demand letter from NJAC
                                                                                                                                                     Work
                                                        Center, Inc.
                                                                                                                                                     Product




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                                                                                                                                                 Privilege
  Document ID      Type    Attachment(s)     Date             Subject                  From                   To                  CC                                     Description
                                                                                                                                                   Type
                                                                                                                                               Attorney-
                                                       RE: Demand Letter
                                                                                                                                               Client        Sharing of document reflecting
                                                       from the National
 AP_Priv_0000007   Email        No         1/22/2024                           Lauren Easton        Daisy Veerasingham                         Privilege;    legal advice re: response to
                                                       Jewish Advocacy
                                                                                                                                               Work          demand letter from NJAC
                                                       Center, Inc.
                                                                                                                                               Product
                                                                                                                                               Attorney-
                                                       For you... FW: Demand
                                                                                                                                               Client        Sharing of document reflecting
                                                       Letter from the
 AP_Priv_0000014   Email        No         1/22/2024                           Lauren Easton        Julie Pace                                 Privilege;    legal advice re: response to
                                                       National Jewish
                                                                                                                                               Work          demand letter from NJAC
                                                       Advocacy Center, Inc.
                                                                                                                                               Product
                                                       Easton, Lauren
                                                       mentioned you in
                                                                                                                                               Attorney-     Request for legal advice re:
                                                       "2024_DV letter to
 AP_Priv_0000031   Email       Yes         1/22/2024                           Lauren Easton        Karen Kaiser, Esq.                         Client        response to demand letter from
                                                       National Jewish
                                                                                                                                               Privilege     NJAC
                                                       Advocacy
                                                       Center_draft".
                                                                                                                                               Attorney-
                                                       Re: Demand Letter                                                                                     Request for legal advice and
                                                                                                                                               Client
                                                       from the National                                                 Karen Kaiser, Esq.;                 provision of information requested
 AP_Priv_0000068   Email       Yes         1/23/2024                           Daisy Veerasingham   Lauren Easton                              Privilege;
                                                       Jewish Advocacy                                                   Clare Solly                         by counsel re: response to demand
                                                                                                                                               Work
                                                       Center, Inc.                                                                                          letter from NJAC
                                                                                                                                               Product
                                                                                                                                               Attorney-
                                                       RE: Demand Letter
                                                                                                                                               Client        Discussion of legal advice re:
                                                       from the National
 AP_Priv_0000077   Email       Yes         1/23/2024                           Lauren Easton        Daisy Veerasingham   Karen Kaiser, Esq.    Privilege;    response to demand letter from
                                                       Jewish Advocacy
                                                                                                                                               Work          NJAC
                                                       Center, Inc.
                                                                                                                                               Product
                                                                                                                                               Attorney-
                                                       RE: Demand Letter
                                                                                                                                               Client
                                                       from the National                                                                                     Legal advice re: response to
 AP_Priv_0000004   Email        No         1/24/2024                           Karen Kaiser, Esq.   Clare Solly          Lauren Easton         Privilege;
                                                       Jewish Advocacy                                                                                       demand letter from NJAC
                                                                                                                                               Work
                                                       Center, Inc.
                                                                                                                                               Product




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                                                                                                                                                        Privilege
  Document ID      Type    Attachment(s)     Date               Subject                    From                  To                       CC                                    Description
                                                                                                                                                          Type
                                                        Re: Broken Borders:
                                                        AP & Reuters Pictures                                                                          Attorney-    Legal advice re: Honest Reporting
 AP_Priv_0000046   Email        No         11/9/2023    of Hamas Atrocities        Karen Kaiser, Esq.   Lauren Easton           Jessica Bruce          Client       allegations re: Freelance
                                                        Raise Ethical Questions                                                                        Privilege    Photographers
                                                        | Honest Reporting
                                                                                                                                                       Attorney-    Request for legal advice and
                                                                                                                                                       Client       provision of information requested
                                                        Re: Confidential: Letter                                                Jessica Bruce; Julie
 AP_Priv_0000011   Email        No         11/10/2023                              Daisy Veerasingham   Karen Kaiser, Esq.                             Privilege;   by counsel re: response to letter
                                                        from Senator Cotton                                                     Pace
                                                                                                                                                       Work         from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Product      Photographers
                                                                                                                                                       Attorney-
                                                                                                                                                                    Legal advice and request for
                                                                                                                                                       Client
                                                        RE: Confidential: Letter                                                Jessica Bruce; Julie                information re: response to letter
 AP_Priv_0000012   Email        No         11/10/2023                              Karen Kaiser, Esq.   Daisy Veerasingham                             Privilege;
                                                        from Senator Cotton                                                     Pace                                from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Work
                                                                                                                                                                    Photographers
                                                                                                                                                       Product
                                                                                                                                                       Attorney-    Request for legal advice and
                                                                                                                                                       Client       provision of information requested
                                                        Re: Confidential: Letter                                                Jessica Bruce; Daisy
 AP_Priv_0000044   Email        No         11/10/2023                              Julie Pace           Karen Kaiser, Esq.                             Privilege;   by counsel re: response to letter
                                                        from Senator Cotton                                                     Veerasingham
                                                                                                                                                       Work         from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Product      Photographers
                                                                                                                                                       Attorney-
                                                                                                                                                                    Legal advice and request for
                                                                                                                                                       Client
                                                        Tom Cotton draft                                Jessica Bruce; Lauren                                       information re: response to letter
 AP_Priv_0000070   Email       Yes         11/10/2023                              Karen Kaiser, Esq.                                                  Privilege;
                                                        response                                        Easton                                                      from Sen. Tom Cotton re: Freelance
                                                                                                                                                       Work
                                                                                                                                                                    Photographers
                                                                                                                                                       Product
                                                                                                                                                       Attorney-
                                                                                                                                                       Client       Request for legal advice re:
                                                        RE: Tom Cotton draft                            Lauren Easton; Karen
 AP_Priv_0000047   Email        No         11/10/2023                              Jessica Bruce                                                       Privilege;   response to letter from Sen. Tom
                                                        response                                        Kaiser, Esq.
                                                                                                                                                       Work         Cotton re: Freelance Photographers
                                                                                                                                                       Product
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                                                                                                                                                  Privilege
  Document ID      Type    Attachment(s)     Date               Subject                From                  To                      CC                                  Description
                                                                                                                                                    Type
                                                                                                                                                Attorney-     Request for legal advice and
                                                                                                                                                Client        provision of information requested
                                                                                                    Daisy Veerasingham;     Julie Pace; Karen
 AP_Priv_0000048   Email        No         11/10/2023   RE: Cotton response    Jessica Bruce                                                    Privilege;    by counsel re: response to letter
                                                                                                    Lauren Easton           Kaiser, Esq.
                                                                                                                                                Work          from Sen. Tom Cotton re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                    Daisy Veerasingham;                         Attorney-
                                                                                                    Lauren Easton; Julie                        Client        Request for legal advice re:
                                                        NEW draft Cotton
 AP_Priv_0000049   Email        No         11/10/2023                          Jessica Bruce        Pace; "Kaiser,                              Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                    Karen"<KKaiser@ap.                          Work          Cotton re: Freelance Photographers
                                                                                                    org>                                        Product
                                                                                                                                                Attorney-
                                                                                                    Jessica Bruce; Lauren                       Client        Request for legal advice re:
                                                        RE: NEW draft Cotton
 AP_Priv_0000050   Email        No         11/10/2023                          Daisy Veerasingham   Easton; Julie Pace;                         Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                    Karen Kaiser, Esq.                          Work          Cotton re: Freelance Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-
                                                                                                                                                              Sharing of document reflecting
                                                                                                                                                Client
                                                        FW: two slightly                            Julie Pace; Lauren                                        legal advice re: response to letter
 AP_Priv_0000051   Email        No         11/10/2023                          Jessica Bruce                                                    Privilege;
                                                        different versions.                         Easton                                                    from Sen. Tom Cotton re: Freelance
                                                                                                                                                Work
                                                                                                                                                              Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-
                                                                                                                                                              Sharing of document reflecting
                                                                                                                                                Client
                                                                                                                                                              legal advice re: response to letter
 AP_Priv_0000052   Email        No         11/10/2023   style check            Jessica Bruce        Lauren Easton                               Privilege;
                                                                                                                                                              from Sen. Tom Cotton re: Freelance
                                                                                                                                                Work
                                                                                                                                                              Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-
                                                                                                                                                              Sharing of document reflecting
                                                                                                                                                Client
                                                                                                                                                              legal advice re: response to letter
 AP_Priv_0000053   Email        No         11/10/2023   Re: style check        Jessica Bruce        Lauren Easton                               Privilege;
                                                                                                                                                              from Sen. Tom Cotton re: Freelance
                                                                                                                                                Work
                                                                                                                                                              Photographers
                                                                                                                                                Product




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                                                                                                                                                   Privilege
  Document ID      Type    Attachment(s)     Date              Subject                 From                 To                      CC                                    Description
                                                                                                                                                     Type
                                                                                                   Karen Kaiser, Esq.;                           Attorney-
                                                                                                   Lauren Easton; Julie                          Client        Request for legal advice re:
 AP_Priv_0000054   Email        No         11/10/2023   Cotton Letter          Jessica Bruce       Pace; Daisy                                   Privilege;    response to letter from Sen. Tom
                                                                                                   Veerasingham;                                 Work          Cotton re: Freelance Photographers
                                                                                                   Jessica Bruce                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                 Client        Request for legal advice re:
                                                        Re: Tom Cotton draft
 AP_Priv_0000055   Email        No         11/10/2023                          Lauren Easton       Karen Kaiser, Esq.     Jessica Bruce          Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                                                 Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                 Client        Request for legal advice re:
                                                        Re: Tom Cotton draft
 AP_Priv_0000056   Email        No         11/10/2023                          Lauren Easton       Karen Kaiser, Esq.     Jessica Bruce          Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                                                 Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                 Client        Request for legal advice re:
                                                        Re: Tom Cotton draft
 AP_Priv_0000074   Email        No         11/10/2023                          Lauren Easton       Jessica Bruce          Karen Kaiser, Esq.     Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                                                 Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                                                               Sharing of document reflecting
                                                                                                                                                 Client
                                                                                                                                                               legal advice re: response to letter
 AP_Priv_0000075   Email        No         11/10/2023   Re: style check        Lauren Easton       Jessica Bruce                                 Privilege;
                                                                                                                                                               from Sen. Tom Cotton re: Freelance
                                                                                                                                                 Work
                                                                                                                                                               Photographers
                                                                                                                                                 Product
                                                                                                                                                 Attorney-
                                                                                                                          Jessica Bruce; Julie   Client        Request for legal advice re:
                                                        Re: NEW draft Cotton
 AP_Priv_0000079   Email        No         11/10/2023                          Lauren Easton       Daisy Veerasingham     Pace; Karen Kaiser,    Privilege;    response to letter from Sen. Tom
                                                        response
                                                                                                                          Esq.                   Work          Cotton re: Freelance Photographers
                                                                                                                                                 Product




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  Document ID      Type    Attachment(s)     Date               Subject                  From                  To                      CC                                       Description
                                                                                                                                                          Type
                                                                                                                                                      Attorney-
                                                                                                                              Daisy Veerasingham;     Client        Legal advice re: Honest Reporting
 AP_Priv_0000072   Email       Yes         11/11/2023   Re: FYI // [redacted]    Karen Kaiser, Esq.   Lauren Easton           Jessica Bruce; Julie    Privilege;    allegations re: Freelance
                                                                                                                              Pace                    Work          Photographers
                                                                                                                                                      Product
                                                        Fwd: 12-04-23 -                                                                                             Request for legal advice re:
                                                                                                                                                      Attorney-
                                                        Multistate Letter                                                     Jessica Bruce; Lauren                 response to letter from Iowa
 AP_Priv_0000024   Email        No         12/5/2023                             Daisy Veerasingham   Karen Kaiser, Esq.                              Client
                                                        Regarding Material                                                    Easton; Julie Pace                    Department of Justice re: Freelance
                                                                                                                                                      Privilege
                                                        Support for Terrorism                                                                                       Photographers
                                                        Fwd: 12-04-23 -                                                                                             Request for legal advice re:
                                                                                                      Karen Kaiser, Esq.;                             Attorney-
                                                        Multistate Letter                                                                                           response to letter from Iowa
 AP_Priv_0000025   Email       Yes         12/5/2023                             Julie Pace           Jessica Bruce; Lauren                           Client
                                                        Regarding Material                                                                                          Department of Justice re: Freelance
                                                                                                      Easton                                          Privilege
                                                        Support for Terrorism                                                                                       Photographers
                                                                                                      Daisy Veerasingham;                                           Request for legal advice re:
                                                                                                                                                      Attorney-
                                                        New Congress letter //                        Karen Kaiser, Esq.;                                           response to letter from Rep.
 AP_Priv_0000037   Email       Yes         12/7/2023                             Lauren Easton                                                        Client
                                                        Hamas                                         Jessica Bruce; Julie                                          Andrew S. Clyde re: Freelance
                                                                                                                                                      Privilege
                                                                                                      Pace                                                          Photographers
                                                                                                                                                                    Request for legal advice re:
                                                                                                      Karen Kaiser, Esq.;                             Attorney-
                                                        RE: New Congress                                                                                            response to letter from Rep.
 AP_Priv_0000005   Email        No         12/11/2023                            Jessica Bruce        Lauren Easton; Daisy    Julie Pace              Client
                                                        letter // Hamas                                                                                             Andrew S. Clyde re: Freelance
                                                                                                      Veerasingham                                    Privilege
                                                                                                                                                                    Photographers
                                                                                                                                                      Attorney-     Request for legal advice and
                                                                                                      Karen Kaiser, Esq.;                             Client        provision of information requested
                                                        Re: New Congress
 AP_Priv_0000006   Email        No         12/11/2023                            Julie Pace           Lauren Easton; Daisy    Jessica Bruce           Privilege;    by counsel re: response to letter
                                                        letter // Hamas
                                                                                                      Veerasingham                                    Work          from Rep. Andrew S. Clyde re:
                                                                                                                                                      Product       Freelance Photographers
                                                                                                                                                      Attorney-
                                                                                                                                                                    Legal advice and request for
                                                                                                                                                      Client
                                                                                                      Aaron Jackson; Julie                                          information re: response to letter
 AP_Priv_0000008   Email        No         12/11/2023   RE: Oct. 7 inquiry       Karen Kaiser, Esq.                                                   Privilege;
                                                                                                      Pace; Tony Hicks                                              from Rep. Andrew S. Clyde re:
                                                                                                                                                      Work
                                                                                                                                                                    Freelance Photographers
                                                                                                                                                      Product




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  Document ID      Type    Attachment(s)     Date               Subject                  From                  To                      CC                                     Description
                                                                                                                                                        Type
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Aaron Jackson; Julie   Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000033   Email       Yes         12/13/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Pace; Tony Hicks       Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Tony Hicks; Aaron      Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000009   Email        No         12/14/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Jackson; Julie Pace    Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Aaron Jackson; Julie   Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000035   Email       Yes         12/14/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Pace; Tony Hicks       Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Legal advice and request for
                                                        RE: Oct. 7 inquiry --                                                                       Client
                                                                                                      Tony Hicks; Aaron      Brian Barrett, Esq.;                 information re: response to letter
 AP_Priv_0000010   Email        No         12/15/2023   privileged and           Karen Kaiser, Esq.                                                 Privilege;
                                                                                                      Jackson; Julie Pace    Derl McCrudden                       from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work
                                                                                                                                                                  Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                        RE: Oct. 7 inquiry --                                                                       Client        Legal advice re: response to letter
 AP_Priv_0000013   Email        No         12/15/2023   privileged and           Karen Kaiser, Esq.   Julie Pace                                    Privilege;    from Rep. Andrew S. Clyde re:
                                                        confidential                                                                                Work          Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Request for legal advice re:
                                                        Fwd: Oct. 7 inquiry --                                                                      Client
                                                                                                                                                                  response to letter from Rep.
 AP_Priv_0000015   Email        No         12/15/2023   privileged and           Julie Pace           Karen Kaiser, Esq.                            Privilege;
                                                                                                                                                                  Andrew S. Clyde re: Freelance
                                                        confidential                                                                                Work
                                                                                                                                                                  Photographers
                                                                                                                                                    Product




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  Document ID      Type    Attachment(s)     Date               Subject                 From                   To                   CC                                    Description
                                                                                                                                                    Type
                                                                                                                                                Attorney-
                                                                                                     Lauren Easton;                             Client        Legal advice re: response to letter
                                                        RE: DRAFT // new
 AP_Priv_0000027   Email       Yes         12/15/2023                           Karen Kaiser, Esq.   Jessica Bruce; Julie                       Privilege;    from Rep. Andrew S. Clyde re:
                                                        Congress letter
                                                                                                     Pace                                       Work          Freelance Photographers
                                                                                                                                                Product
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Oded Balilty; Tony
 AP_Priv_0000057   Email        No         12/15/2023   privileged and          Dusan Vranic                                                    Privilege;    counsel re: response to letter from
                                                                                                     Hicks
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                                            Tony Hicks; Dusan
 AP_Priv_0000058   Email        No         12/15/2023   privileged and          Jane Mualem          Oded Balilty                               Privilege;    counsel re: response to letter from
                                                                                                                            Vranic
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Jane Mualem; Oded
 AP_Priv_0000059   Email        No         12/15/2023   privileged and          Tony Hicks                                  Dusan Vranic        Privilege;    counsel re: response to letter from
                                                                                                     Balilty
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Oded Balilty; Dusan
 AP_Priv_0000060   Email        No         12/15/2023   privileged and          Tony Hicks                                                      Privilege;    counsel re: response to letter from
                                                                                                     Vranic
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers
                                                                                                                                                Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                   Client        gathering information requested by
                                                                                                     Tony Hicks; Oded
 AP_Priv_0000061   Email        No         12/15/2023   privileged and          Dusan Vranic                                                    Privilege;    counsel re: response to letter from
                                                                                                     Balilty
                                                        confidential                                                                            Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                Product       Photographers




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  Document ID      Type    Attachment(s)     Date               Subject                From                 To                    CC                             Description
                                                                                                                                            Type
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Jane Mualem; Oded
 AP_Priv_0000080   Email       Yes         12/15/2023   privileged and          Dusan Vranic                              Tony Hicks    Privilege;    counsel re: response to letter from
                                                                                                   Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Dusan Vranic; Jane
 AP_Priv_0000062   Email        No         12/15/2023   privileged and          Tony Hicks                                              Privilege;    counsel re: response to letter from
                                                                                                   Mualem; Oded Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Tony Hicks; Oded
 AP_Priv_0000063   Email        No         12/15/2023   privileged and          Dusan Vranic                                            Privilege;    counsel re: response to letter from
                                                                                                   Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                                      Gathering information requested
                                                                                                                                        Work          by counsel re: response to letter
 AP_Priv_0000065   Email        No         12/15/2023                           Dusan Vranic       Tony Hicks
                                                                                                                                        Product       from Rep. Andrew S. Clyde re:
                                                                                                                                                      Freelance Photographers
                                                                                                                                                      Gathering information requested
                                                                                                                                        Work          by counsel re: response to letter
 AP_Priv_0000066   Email        No         12/15/2023   Re:                     Dusan Vranic       Tony Hicks
                                                                                                                                        Product       from Rep. Andrew S. Clyde re:
                                                                                                                                                      Freelance Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Oded Balilty; Tony
 AP_Priv_0000067   Email        N          12/15/2023   privileged and          Dusan Vranic                                            Privilege;    counsel re: response to letter from
                                                                                                   Hicks
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers
                                                                                                                                        Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                           Client        gathering information requested by
                                                                                                   Jane Mualem; Tony
 AP_Priv_0000082   Email       Yes         12/17/2023   privileged and          Dusan Vranic                              Jane Mualem   Privilege;    counsel re: response to letter from
                                                                                                   Hicks; Oded Balilty
                                                        confidential                                                                    Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                        Product       Photographers



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  Document ID      Type    Attachment(s)     Date               Subject                 From                  To                       CC                                     Description
                                                                                                                                                        Type
                                                                                                                                                    Attorney-     Discussion of legal advice and
                                                        Re: Oct. 7 inquiry --                                                                       Client        gathering information requested by
                                                                                                     Jane Mualem; Tony
 AP_Priv_0000064   Email        No         12/17/2023   privileged and          Dusan Vranic                                                        Privilege;    counsel re: response to letter from
                                                                                                     Hicks; Oded Balilty
                                                        confidential                                                                                Work          Rep. Andrew S. Clyde re: Freelance
                                                                                                                                                    Product       Photographers
                                                                                                                                                    Attorney-
                                                        FW: Oct. 7 inquiry --                                                                       Client        Legal advice re: response to letter
                                                                                                     Julie Pace; Lauren
 AP_Priv_0000016   Email       Yes         12/19/2023   privileged and          Karen Kaiser, Esq.                                                  Privilege;    from Rep. Andrew S. Clyde re:
                                                                                                     Easton; Jessica Bruce
                                                        confidential                                                                                Work          Freelance Photographers
                                                                                                                                                    Product
                                                                                                                                                    Attorney-
                                                                                                                                                                  Request for legal advice re:
                                                                                                                             Jessica Bruce; Julie   Client
                                                                                                                                                                  response to letter from Rep.
 AP_Priv_0000039   Email       Yes         12/19/2023   Letter to Congress      Lauren Easton        Daisy Veerasingham      Pace; Karen Kaiser,    Privilege;
                                                                                                                                                                  Andrew S. Clyde re: Freelance
                                                                                                                             Esq.                   Work
                                                                                                                                                                  Photographers
                                                                                                                                                    Product
                                                        Re: Easton, Lauren                                                                          Attorney-
                                                        mentioned you in                                                                            Client        Legal advice re: response to letter
 AP_Priv_0000045   Email        No         12/19/2023   "2023_12_Dec_DV         Karen Kaiser, Esq.   Lauren Easton                                  Privilege;    from Rep. Andrew S. Clyde re:
                                                        letter reply to                                                                             Work          Freelance Photographers
                                                        Congress_V2".                                                                               Product
                                                        Easton, Lauren                                                                              Attorney-
                                                                                                                                                                  Request for legal advice re:
                                                        mentioned you in                                                                            Client
                                                                                                                                                                  response to letter from Rep.
 AP_Priv_0000076   Email        No         12/19/2023   "2023_12_Dec_DV         Lauren Easton        Karen Kaiser, Esq.                             Privilege;
                                                                                                                                                                  Andrew S. Clyde re: Freelance
                                                        letter reply to                                                                             Work
                                                                                                                                                                  Photographers
                                                        Congress_V2".                                                                               Product
                                                                                                                                                    Attorney-     Request for legal advice and
                                                        Oct. 7 inquiry --                                                                           Client        provision of information requested
 AP_Priv_0000087   Email       Yes         12/19/2023   privileged and          Tony Hicks           Karen Kaiser, Esq.                             Privilege;    by counsel re: response to letter
                                                        confidential                                                                                Work          from Rep. Andrew S. Clyde re:
                                                                                                                                                    Product       Freelance Photographers




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  Document ID      Type    Attachment(s)     Date               Subject                  From                  To                       CC                                     Description
                                                                                                                                                         Type
                                                                                                                                                     Attorney-     Request for legal advice and
                                                        Re: Oct. 7 inquiry --                                                                        Client        provision of information requested
                                                                                                                              Julie Pace; Jessica
 AP_Priv_0000041   Email        No         12/20/2023   privileged and           Lauren Easton        Karen Kaiser, Esq.                             Privilege;    by counsel re: response to letter
                                                                                                                              Bruce
                                                        confidential                                                                                 Work          from Rep. Andrew S. Clyde re:
                                                                                                                                                     Product       Freelance Photographers
                                                                                                                                                     Attorney-
                                                                                                                                                                   Request for legal advice re:
                                                                                                                              Jessica Bruce; Julie   Client
                                                                                                                                                                   response to letter from Rep.
 AP_Priv_0000042   Email       Yes         12/20/2023   RE: Letter to Congress   Lauren Easton        Daisy Veerasingham      Pace; Karen Kaiser,    Privilege;
                                                                                                                                                                   Andrew S. Clyde re: Freelance
                                                                                                                              Esq.                   Work
                                                                                                                                                                   Photographers
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        FW: Demand Letter
                                                                                                                                                     Client        Legal advice and request for
                                                        from the National                             Jessica Bruce; Lauren
 AP_Priv_0000021   Email       Yes         1/18/2024                             Karen Kaiser, Esq.                           Daisy Veerasingham     Privilege;    information re: response to
                                                        Jewish Advocacy                               Easton; Julie Pace
                                                                                                                                                     Work          demand letter from NJAC
                                                        Center, Inc.
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        Re: Demand Letter                                                                                          Request for legal advice and
                                                                                                                              Lauren Easton;         Client
                                                        from the National                                                                                          provision of information requested
 AP_Priv_0000001   Email        No         1/19/2024                             Julie Pace           Karen Kaiser, Esq.      Jessica Bruce; Daisy   Privilege;
                                                        Jewish Advocacy                                                                                            by counsel re: response to demand
                                                                                                                              Veerasingham           Work
                                                        Center, Inc.                                                                                               letter from NJAC
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        Re: Demand Letter
                                                                                                                                                     Client        Request for legal advice re:
                                                        from the National
 AP_Priv_0000002   Email        No         1/22/2024                             Daisy Veerasingham   Lauren Easton           Karen Kaiser, Esq.     Privilege;    response to demand letter from
                                                        Jewish Advocacy
                                                                                                                                                     Work          NJAC
                                                        Center, Inc.
                                                                                                                                                     Product
                                                                                                                                                     Attorney-
                                                        RE: Demand Letter
                                                                                                                                                     Client
                                                        from the National                                                                                          Legal advice re: response to
 AP_Priv_0000003   Email       Yes         1/22/2024                             Karen Kaiser, Esq.   Lauren Easton                                  Privilege;
                                                        Jewish Advocacy                                                                                            demand letter from NJAC
                                                                                                                                                     Work
                                                        Center, Inc.
                                                                                                                                                     Product




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                                                                                                                                                 Privilege
  Document ID      Type    Attachment(s)     Date             Subject                  From                   To                  CC                                     Description
                                                                                                                                                   Type
                                                                                                                                               Attorney-
                                                       RE: Demand Letter
                                                                                                                                               Client        Sharing of document reflecting
                                                       from the National
 AP_Priv_0000007   Email        No         1/22/2024                           Lauren Easton        Daisy Veerasingham                         Privilege;    legal advice re: response to
                                                       Jewish Advocacy
                                                                                                                                               Work          demand letter from NJAC
                                                       Center, Inc.
                                                                                                                                               Product
                                                                                                                                               Attorney-
                                                       For you... FW: Demand
                                                                                                                                               Client        Sharing of document reflecting
                                                       Letter from the
 AP_Priv_0000014   Email        No         1/22/2024                           Lauren Easton        Julie Pace                                 Privilege;    legal advice re: response to
                                                       National Jewish
                                                                                                                                               Work          demand letter from NJAC
                                                       Advocacy Center, Inc.
                                                                                                                                               Product
                                                       Easton, Lauren
                                                       mentioned you in
                                                                                                                                               Attorney-     Request for legal advice re:
                                                       "2024_DV letter to
 AP_Priv_0000031   Email       Yes         1/22/2024                           Lauren Easton        Karen Kaiser, Esq.                         Client        response to demand letter from
                                                       National Jewish
                                                                                                                                               Privilege     NJAC
                                                       Advocacy
                                                       Center_draft".
                                                                                                                                               Attorney-
                                                       Re: Demand Letter                                                                                     Request for legal advice and
                                                                                                                                               Client
                                                       from the National                                                 Karen Kaiser, Esq.;                 provision of information requested
 AP_Priv_0000068   Email       Yes         1/23/2024                           Daisy Veerasingham   Lauren Easton                              Privilege;
                                                       Jewish Advocacy                                                   Clare Solly                         by counsel re: response to demand
                                                                                                                                               Work
                                                       Center, Inc.                                                                                          letter from NJAC
                                                                                                                                               Product
                                                                                                                                               Attorney-
                                                       RE: Demand Letter
                                                                                                                                               Client        Discussion of legal advice re:
                                                       from the National
 AP_Priv_0000077   Email       Yes         1/23/2024                           Lauren Easton        Daisy Veerasingham   Karen Kaiser, Esq.    Privilege;    response to demand letter from
                                                       Jewish Advocacy
                                                                                                                                               Work          NJAC
                                                       Center, Inc.
                                                                                                                                               Product
                                                                                                                                               Attorney-
                                                       RE: Demand Letter
                                                                                                                                               Client
                                                       from the National                                                                                     Legal advice re: response to
 AP_Priv_0000004   Email        No         1/24/2024                           Karen Kaiser, Esq.   Clare Solly          Lauren Easton         Privilege;
                                                       Jewish Advocacy                                                                                       demand letter from NJAC
                                                                                                                                               Work
                                                       Center, Inc.
                                                                                                                                               Product




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  Document ID     Type    Attachment(s)     Date              Subject                    From                   To                    CC                                    Description
                                                                                                                                                      Type
                                                                                                                                                  Attorney-
                                                                                                      Enric Marti; Julie                          Client
                                                      Re: Photo Pulitzer                                                                                        Redaction of discussion of legal
 AP_0000795       Email       n/a         2/26/2024                              Benjamin J. Snyder   Pace; Ron Nixon;                            Privilege;
                                                      entries                                                                                                   advice re: lawsuit
                                                                                                      John Daniszewski                            Work
                                                                                                                                                  Product
                                                                                                                                                  Attorney-
                                                                                                                                                  Client
                                                      Re: Photo Pulitzer                              Enric Marti; Julie                                        Redaction of discussion of legal
 AP_0000798       Email       n/a         2/27/2024                              John Daniszewski                            Benjamin J. Snyder   Privilege;
                                                      entries                                         Pace; Ron Nixon                                           advice re: lawsuit
                                                                                                                                                  Work
                                                                                                                                                  Product
                                                                                                                                                  Attorney-
                                                                                                                                                  Client
                                                      RE: Photo Pulitzer                              Enric Marti; Julie                                        Redaction of discussion of legal
 AP_0000803       Email       n/a         2/27/2024                              John Daniszewski                            Benjamin J. Snyder   Privilege;
                                                      entries                                         Pace; Ron Nixon                                           advice re: lawsuit
                                                                                                                                                  Work
                                                                                                                                                  Product
                                                                                                                                                  Attorney-
                                                                                                                             Enric Marti; Ron     Client
                                                      Re: Photo Pulitzer                                                                                        Redaction of discussion of legal
 AP_0000839       Email       n/a         2/27/2024                              Julie Pace           John Daniszewski       Nixon; Benjamin J.   Privilege;
                                                      entries                                                                                                   advice re: lawsuit
                                                                                                                             Snyder               Work
                                                                                                                                                  Product
                                                                                                                                                  Attorney-
                                                      Re: POY / RJI /                                 Lauren Easton; Julie                        Client
                                                                                                                                                                Redaction of requests for legal
 AP_0000542       Email       n/a         3/29/2024   Missouri -- seeking call   Paul Haven           Pace; Derl                                  Privilege;
                                                                                                                                                                advice re: POY award
                                                      with dean                                       McCrudden                                   Work
                                                                                                                                                  Product
                                                                                                                                                  Attorney-
                                                      RE: POY / RJI /                                 Derl McCrudden;                             Client
                                                                                                                                                                Redaction of requests for legal
 AP_0000730       Email       n/a         3/29/2024   Missouri -- seeking call   Lauren Easton        Julie Pace; Paul                            Privilege;
                                                                                                                                                                advice re: POY award
                                                      with dean                                       Haven                                       Work
                                                                                                                                                  Product




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  Document ID     Type    Attachment(s)     Date              Subject                   From                    To       CC                             Description
                                                                                                                                  Type
                                                                                                                              Attorney-
                                                      RE: POY / RJI /                                 Julie Pace; Paul        Client
                                                                                                                                            Redaction of requests for legal
 AP_0001587       Email       n/a         3/29/2024   Missouri -- seeking call   Lauren Easton        Haven; Derl             Privilege;
                                                                                                                                            advice re: POY award
                                                      with dean                                       McCrudden               Work
                                                                                                                              Product




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